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                     IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                     Plaintiff,

vs.                                                             CRIM. NO. 10-2602 BB
                                                                MAG. NO.
LUCAS PAEZ,

                     Defendant.

                                         ORDER

              THIS MATTER is before the Court for hearing, the defendant admits the

violation and the Court finds that the Defendant violated his conditions of release, and the

Court being fully advised in the premises;

              IT IS THEREFORE ORDERED that the conditions of release previously

imposed are hereby REVOKED; and that the Defendant Lucas Paez, be remanded to the

custody of the U.S. Marshal pending final disposition in this matter.


                                             _____________________________________
                                             LORENZO F. GARCIA
                                             US MAGISTRATE JUDGE
